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~ A0245B      (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                      Eastern District of Pennsylvania
                                                      )
             UNITED STATES OF AMERICA                 )     JUDGMENT IN A CRIMINAL CASE
                        v.                           )
                                                     )
                 FRANK THOMPSON                      )      Case Number:      DPAE2: 12CR000418-005
                                                      )     USM Number:       68400-066
                                                      )
                                                      )     Laurence A. Narcisi, III
                                                                              Defendant's Attorney
THE DEFENDANT:
 D pleaded guilty to count(s)
 D pleaded nolo contendere to count(s)
   which was accepted by the court.
[gl was found guilty on count(s)         1-5
                                        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                         Offense Ended              Count
18:1951(a)                    Conspiracy to commit robbery which interferes with interstate             7/18/2012           1
                               commerce
18:1951(a); 18:2              Attempted robbery which interferes with interstate commerce;              7/18/2012           2
                               and aiding and abetting
21:846                        Conspiracy to possess with intent to distribute 5 kilograms or            7/18/2012           3
                               more of cocaine
       The defendant is sentenced as provided in pages 2 through            7       of this judgment.   The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0rhe defendant has been found not guilty on count(s)
 Ocount(s)                                               Dis    Dare dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


 CJV.~~,s,:~
           1?~W-v~
           1)6~());)
           "l'~~~u.-)
           r-p~o--e.                                                   Juan R. Sanchez, US District Judge
           ~s;_sL
             AtA--                                                     Date
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AO 2458     (Rev. 09/11) Judgment in a Criminal Case
            Sheet lA

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DEFENDANT:                  FRANK THOMPSON
CASE NUMBER:                DPAE2: 12CR000418-005

                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                                            Offense Ended          Count
21:846; 18:2                     Attempted possession with intent to distribute 5 kilograms   7/18/2012              4
                                  or more of cocaine; and aiding and abetting
18:924(c)(l)(A); 18:2            Carrying a firearm during and in relation to a crime of      7/18/2012              5
                                  violence and to a drug trafficking crime; aiding and
                                   abetting
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AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                     Judgment - Page      3   of   7
DEFENDANT:                     FRANK THOMPSON
CASE NUMBER:                   DPAE2:12CR000418-005



                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
180 months on each Counts 1 and 2. 192 months on each of Counts 3 and 4. All terms to be served concurrently to each other. A term of
60 months on Count 5 to be served consecutively to the terms of Counts 1-4 to the extent necessary to produce a total term of 252 months
in prison.


      ~ The court makes the following recommendations to the Bureau of Prisons:
          Defendant is to be housed as close as possible to Philadelphia so he may see his son.




      ~ The defendant is remanded to the custody of the United States Marshal.

      D   The defendant shall surrender to the United States Marshal for this district:

          D   at                                     D   a.m.    D   p.m.    on
          D   as notified by the United States Marshal.

      D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D   before 2 p.m. on
          D   as notified by the United States Marshal.
          D   as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL



                                                                            By
                                                                                 - - - - - -DEPUTY
                                                                                             - - -UNITED
                                                                                                   ---     -----------
                                                                                                         STATES MARSHAL
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AO 2458      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                            Judgment-Page   4      of          7
DEFENDANT:                     FRANK THOMPSON
CASE NUMBER:                   DPAE2: 12CR000418-005

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 10 years.
         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
 D      future substance abuse. (Check, if applicable.)
 ~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 ~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D      as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence.      (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant's compliance with such notification requirement.
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            Sheet 3C - Supervised Release
                                                                                                      Judgment-Page           5   of        7
DEFENDANT:                  FRANK THOMPSON
CASE NUMBER:                DPAE2:12CR000418-005

                                          SPECIAL CONDITIONS OF SUPERVISION
The defendant shall submit to the collection of a DNA sample from the defendant at the direction of the United States Probation Office
pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42USC14135a).

The defendant shall refrain from the illegal possession and/or use of drugs and shall submit to urinalysis or other forms of testing to ensure
compliance.

The defendant shall provide the U.S. Probation Office with full disclosure of his financial records to include yearly income tax returns
upon the request of the U.S. Probation Office. The defendant shall cooperate with the probation officer in the investigation of his financial
dealings and shall provide truthful monthly statements of his income.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval of the U.S.
Probation officer, unless the defendant is in compliance with a payment schedule for any fine or restitution obligation. The defendant shall
not encumber or liquidate interest in any assets unless it is in direct service of the fine or restitution obligation or otherwise has the express
approval of the Court.

It is further ordered the defendant shall pay to the United States a fine of $1,000.00. The Court finds that the defendant lacks the ability to
pay a fine within the guideline range.

The fine is due immediately. It is recommended that the defendant participate in the Bureau of Prisons Inmate Financial Responsibility
Program and provide a minimum payment of $25.00 per quarter towards the fine. In the event the fine is not paid prior to the
commencement of supervision, the defendant shall satisfy the amount due in monthly installments of not less than $25.00 to commence 30
days after release from confinement.

The defendant shall pay to the United States a total special assessment of $500.00, which shall be due immediately.
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AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment - Page -~6'---- of          7
DEFENDANT:                            FRANK THOMPSON
CASE NUMBER:                          DP AE2: 12CR000418-005

                                                  CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                             Fine                                 Restitution
TOTALS                $ 500.00                                               $ 1,000.00                           $

 D     The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
       paid before the United States is paid.

Name of Payee                                     Total Loss*                              Restitution Ordered                 Priority or Percentage




TOTALS                                   $-------                                    $ _ _ _ _ _ __

 0      Restitution amount ordered pursuant to plea agreement $                  ~~~~~~~~~-




 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 [8J    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        [8J   the interest requirement is waived for the            [8J   fine   D      restitution.

        D     the interest requirement for the           D   fine     D     restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 2458      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page         7      of         7
DEFENDANT:                     FRANK THOMPSON
CASE NUMBER:                   DDPAE2: 12CR000418-005

                                                            SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    1:8:]   Lump sum payment of$ _5_0_0_.0_0_ _ __ due immediately, balance due

             D       not later than                                    , or
             1:8:]   in accordance         D    C,      D   D,    D     E, or     1:8:]   F below; or

B    D       Payment to begin immediately (may be combined with                   D       C,    D       D,or    D     F below); or

C    D       Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                             (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    D       Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                             (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E    D       Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    1:8:]   Special instructions regarding the payment of criminal monetary penalties:
             The fine of $1,000.00 is due immediately. It is recommended that the defendant participate in the Bureau of Prisons Inmate
             Financial Responsibility Program and provide a minimum payment of $25.00 per quarter towards the fine. In the event the fine is
             not paid prior to the commencement of supervision, the defendant shall satisfy the amount due in monthly installments of not less
             than $25.00 to commence 30 days after release from confinement. The special assessment of $500.00 is due immediately.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
